Case: 4:24-cv-01723-MTS   Doc. #: 1-1   Filed: 12/24/24   Page: 1 of 8 PageID #: 28
Case: 4:24-cv-01723-MTS   Doc. #: 1-1   Filed: 12/24/24   Page: 2 of 8 PageID #: 29




                     Missouri Commission on Human Rights
Case: 4:24-cv-01723-MTS   Doc. #: 1-1   Filed: 12/24/24   Page: 3 of 8 PageID #: 30




                     Missouri Commission on Human Rights
Case: 4:24-cv-01723-MTS   Doc. #: 1-1   Filed: 12/24/24   Page: 4 of 8 PageID #: 31




                          Missouri Commission on Human Rights
           Case: 4:24-cv-01723-MTS                            Doc. #: 1-1                 Filed: 12/24/24            Page: 5 of 8 PageID #: 32
EEOC Form 5 (11/09)




                                                                                                             □
                      CHARGE OF DISCRIMINATION                                                            Charge Presented To:         Agency(ies) Charge No(s):


                                                                                                             □
            This form is affected by the Privacy Act of 197 4. See enclosed Privacy Act                            FEPA
                   Statement and other information before completing this form.
                                                                                                                   EEOC

                                                       Missouri Commission on Human Rights                                                               and EEOC
                                                                          State or local Agency, if any

  I received no follow-up from Coonce following receipt of the Written Reprimand/Final Warning. Prior to
  receipt of the Written Reprimand/Final Warning, I had considered applying to transfer into another job with
  the University due to the stress caused by Coonce. Receipt of the Written Reprimand/Final Warning made me
  ineligible for any other positions with the University at that time.

 On September 26, 2023, I submitted an appeal to the Written Reprimand/Final Warning I had received on
 September 18, 2023 to Senior Director of Compliance, Sara Wright ("Wright"). I discussed my appeal with
 Wright on October 4, 2023, and for the third time discussed the discriminatory and retaliatory conduct by
 Coonce and suggested that others be interviewed. I never received any further response or determination of
 my appeal prior to my employment being terminated on October 12, 2023.

 On September 21, 2023, I was involved in a vehicle accident on my way to work and I requested leave under
 the Family Medical Leave Act ("FMLA") at the direction of my physician. There was some confusion over
 my leave request, due in part to the way Goodwin mistakenly completed a questionnaire, which delayed the
 approval, so I had no choice but to work until approval was received for fear of being fired by Coonce for
 failing to perform my duties. However, Goodwin, Coonce and Human Resources were all aware of my
 request (and need) for FMLA leave. On October 10, 2023, my leave was finally approved, and I began my
 FMLA leave at the direction of Human Resources. The following day, October 11, 2023, I received e-mails
 and texts regarding a mandatory meeting with Coonce on October 12, 2023.

 Based on the tone of the correspondence, I believed that my employment was going to be terminated.
 Therefore, on October 12, 2023, at 1 :36 A.M., I submitted a written complaint via e-mail for violation of
 University policy and the FMLA. My complaint was sent to four (4) employees of the Human Resources
 department. This demonstrates the continued pattern of discriminatory and illegal conduct against me,
 violating my rights under the FMLA.

 Despite having submitted my complaint, at 10:00 A.M. on October 12, 2023, Coonce terminated my
 employment. The written letter of termination cites the two (2) IA investigations that "shed light on a lack of
 oversight and accountability" that resulted in my being issued the Written Reprimand/Final Warning on
 September 18, 2023. It further states that, since being issued the final warning, two (2) additional cases were
 initiated for investigation. This statement is false, as the two (2) additional IA investigations were initiated
 nine (9) days before I was given the Written Reprimand/Final Warning regarding the first two (2) IA
 investigations, I was interviewed regarding them within hours after receiving the Written Reprimand/Final
 Warning, and to my knowledge, those investigations were never completed. The termination letter concludes
 with stating that Coonce had lost confidence in my ability to serve in my current leadership role at WUPD.
                                                                                          (continued on next page)
I want this charge filed with both the EEOC and the State or local Agency, if any. I          NOTARY - When necessary for State and Local Agency Requirements
will advise the agencies if I change my address or phone number and I will
cooperate fully with them in the processing of my charge in accordance with their
procedures.                                                                                   I swear or affirm that I have read the above charge and that it is true to
I declare under penalty of perjury that the above is true and correct                         the best of my knowledge, information and belief.
                                                                                              SIGNATURE OF COMPLAINANT




tJ})Pb@fl  Date
                                       Jut.Jr--Charging Party Signature
                                                                                              SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                              (month, day, year)
Case: 4:24-cv-01723-MTS   Doc. #: 1-1   Filed: 12/24/24   Page: 6 of 8 PageID #: 33




                    Missouri Commission on Human Rights
            Case: 4:24-cv-01723-MTS                           Doc. #: 1-1                 Filed: 12/24/24            Page: 7 of 8 PageID #: 34
EEOC Form 5 (11/09)




                                                                                                             □
                      CHARGE OF DISCRIMINATION                                                            Charge Presented To:          Agency(ies) Charge No(s):


                                                                                                             □
            This form is affected by the Privacy Act of 197 4. See enclosed Privacy Act                            FEPA
                   Statement and other information before completing this form.
                                                                                                                   EEOC

                                                       Missouri Commission on Human Rights                                                               and EEOC
                                                                          State or local Agency, if any

  I believe that I have been discriminated against because of my gender (male), my age, and in retaliation for
  opposing discriminatory practices, in violation of Title VII of the Civil Rights Act of 1964, the Missouri
  Human Rights Act, the Age Discrimination in Employment Act, that Respondent has acted maliciously,
  outrageously, in bad faith, and in wanton disregard for my rights. The specific instances of discrimination,
  harassment, retaliation, and violation of law identified herein are not an exhaustive list of the discriminatory,
  retaliatory or illegal conduct engaged in by Respondent.




I want this charge filed with both the EEOC and the State or local Agency, if any. I          NOTARY - When necessary for State and Local Agency Requirements
will advise the agencies if I change my address or phone number and I will
cooperate fully with them in the processing of my charge in accordance with their
procedures.                                                                                   I swear or affirm that I have read the above charge and that it is true to
I declare under penalty of perjury that the above is true and correct.                        the best of my knowledge, information and belief.
                                                                                              SIGNATURE OF COMPLAINANT




dJ/2Ij;t'J;>/
           Date
                                     &tJr      Charging Party Signature
                                                                                              SUBSCRIBED AND SWORN TO BEFORE ME THIS DATE
                                                                                              (month, day, year)
Case: 4:24-cv-01723-MTS   Doc. #: 1-1   Filed: 12/24/24   Page: 8 of 8 PageID #: 35
